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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :        Criminal No. 1:16-CR-00212
                                           :
             v.                            :        (Chief Judge Conner)
                                           :
KEVIN COLES                                :        (Electronically Filed)

       MOTION TO CONTINUE PRETRIAL MOTIONS DEADLINE
        AND TO CONTINUE JURY SELECTION AND TRIAL


      AND NOW, comes the defendant, Kevin Coles, by his attorney Thomas A.

Thornton, Esquire, of the Federal Public Defender’s Office, and files this Motion

to Continue Pretrial Motions Deadline and to Continue Jury Selection and Trial,

and in support thereof avers as follows:


1.    On August 3, 2016, Kevin Coles was charged in a five-count indictment

with conspiracy of possession with intent to distribute heroin and cocaine in

violation of 21 U.S.C. §846 (Count 1); intentionally and knowingly possessing

with the intent to distribute crack cocaine in violation of 21 U.S.C. §841(a)(1) and

18 U.S.C. §2 (Counts 2 and 4); and, possession of a firearm in furtherance of drug

trafficking in violation of 21 U.S.C. §924(c)(1) and 18 U.S.C.§2 (Count 5).

2.    On September 8, 2016, Kevin Coles appeared before the Honorable Martin

C. Carlson and entered a plea of not guilty to the indictment.
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3.    Trial is scheduled for November 7, 2016, and pretrial motions are due on or

before September 28, 2016.

4.     As plea negotiations in this matter are ongoing, it is respectfully requested

that the deadline for filing pretrial motions be continued for 30 days and that trial

be scheduled thereafter.

5.    Assistant United States Attorney William A. Behe, Esquire, concurs in this

continuance request.

      WHEREFORE, for the foregoing reasons, the defendant, Kevin Coles,

respectfully requests that this Honorable Court grant his Motion to Continue

Pretrial Motions Deadline and to Continue Jury Selection and Trial.



                                            Respectfully submitted,

Date: September 28, 2016                    /s/ Thomas A. Thornton
                                            THOMAS A. THORNTON, ESQUIRE
                                            Assistant Federal Public Defender
                                            Attorney ID #PA44208
                                            100 Chestnut Street, Suite 306
                                            Harrisburg, PA 17101
                                            Tel. No. (717) 782-2237
                                            Fax No. (717) 782-3881
                                            thomas_thornton@fd.org
                                            Attorney for Kevin Coles
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                          CERTIFICATE OF SERVICE

      I, Thomas A. Thornton of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Motion to Continue Pretrial Motions

Deadline and to Continue Jury Selection and Trial, via Electronic Case Filing,

or by placing a copy in the United States mail, first class in Harrisburg,

Pennsylvania, addressed to the following:


WILLIAM A. BEHE, ESQUIRE
Assistant United States Attorney
United States Attorney’s Office
228 Walnut Street, Room 220
Harrisburg, PA 17108

KEVIN COLES
Franklin County Prison
1804 Opportunity Avenue
Chambersburg, PA 17201



Date: September 28, 2016                    /s/ Thomas A. Thornton
                                            THOMAS A. THORNTON, ESQUIRE
                                            Assistant Federal Public Defender
                                            Attorney ID #PA44208
                                            100 Chestnut Street, Suite 306
                                            Harrisburg, PA 17101
                                            Tel. No. (717) 782-2237
                                            Fax No. (717) 782-3881
                                            thomas_thornton@fd.org
                                            Attorney for Kevin Coles
